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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                   MINUTES OF PROCEEDINGS


OFFICE: TRENTON                                               DATE: OCTOBER 27, 2022
JUDGE ZAHID N. QURAISHI
COURT REPORTER: MEGAN MCKAY-SOULE



TITLE OF CASE:                                                CV21-10309 (ZNQ)


DR. REDDY’S LABORATORIES INC.

v.

AMARIN PHARMA, INC., et al


APPEARANCES:
None.


NATURE OF PROCEEDINGS:
Oral Opinion re: Motion to Dismiss (ECF No. 49) read into the record.
Order motion granted in part and denied in part.
Order to be filed.


Time Commenced: 2:21 p.m.
Time Adjourned: 2:27 p.m.
Total Time: 6 minutes




                                                   s/Kim Stillman
                                                   DEPUTY CLERK
